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AO 455 (Rev, 01.09) Waiver of an Iecctment

 

 

UNITED STATES DISTRICT COURT

for the
Wester District of Pennsylvania
United States of America )
v. ) Case No. 2:20-cr-00065-MJH-1
JOSHUA SPRINGER
Ser rene rete oe )
WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by imprisonment for more than onc
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, | waive my right to prosecution by indictment and consent to prosecution by
information,

Date: 06/22/2020 =

    
 

ae Signature of defchd ‘5 attorney
Mecrhn A. Pieter
Printed name of defendant's attorney

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_MARILYN J. HORAN, U.S. DISTRICT JUDGE
Judge's printed name and title
